                   IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                           SOUTHERN DIVISION

                             No. 7:18-CR-00194-FL-1

UNITED STATES OF AMERICA,

       v.
                                               SENTENCING MEMORANDUM
SARAH JANE BRINSON

                Defendant.



      Defendant, SARAH JANE BRINSON, by and through undersigned counsel,

submits this Sentencing Memorandum pursuant to 18 U.S.C. § 3661, to provide

additional information for the Court’s consideration concerning the various factors

found in 18 U.S.C. § 3553(a) and the United States Sentencing Guidelines in

fashioning a sentence for Ms. Brinson that is “sufficient, but not greater than

necessary” to satisfy the principles of 18 U.S.C. § 3553(a)(2). For the reasons

discussed herein, the Defendant believes that a sentence of probation would provide

a punishment sufficient to accomplish the goals of sentencing.

 I.   HISTORY AND CHARACTERISTICS OF DEFENDANT

      Sarah Brinson devoted her life to helping others at a young age. She was

raised by two public servants in a rural tobacco farming community in Pamlico

County, North Carolina. Her father was a former State Bureau of Investigations

agent. Her mother was a high school teacher. As soon as Sarah and her siblings

were old enough, they spent their summers working shoulder-to-shoulder in tobacco

fields with predominantly Hispanic workers. Working those hot August days,



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Sarah found a love for Hispanic culture, the Spanish language, and built a work

ethic that would take her far from the farm. That work ethic also earned results in

the classroom. She studied four years of Spanish and French at Pamlico County

High School and graduated as valedictorian in 2002, breaking script in her

valedictory speech to address the community’s foreign exchange students in their

native languages. Sarah always made others feel welcome.

      Sarah followed her passion for service and the Spanish language to East

Carolina University (“ECU”), where she double-majored in Political Science and

Hispanic Studies and graduated with honors in 2006. She went on to North

Carolina Central University School of Law, earning coveted clerkships at the North

Carolina Department of Justice and with Justice Barbara Jackson.

      Sarah eschewed more lucrative careers in favor of using her language skills

and legal training to help the underserved communities she had come to love back

home. She joined a small practice in Greenville, using her Spanish to handle

criminal and immigration matters across eastern North Carolina. With just two

years of experience, Sarah resolved to open Brinson Law Office in Clinton, NC with

only minimal savings and a small loan from her parents. She hired Yareli Ortiz

Carbajal, a young legal assistant she had befriended at her prior firm, to help run

the office. Ms. Ortiz did not have work authorization or legal status.

      Sarah was a young lawyer full of optimism, often putting people ahead of

profits. She regularly provided free legal seminars in local churches and worked at




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reduced rates or free for those in need. Her primary focus in opening Brinson Law

was helping others and making a positive impact on her community.

          Shortly after moving to Clinton, Sarah began a romantic relationship that

quickly became detrimental to her well-being. Her boyfriend suffered from

alcoholism and depression. Sometimes he was physically and mentally abusive.

They bought a home together, but he could not keep a job. The grueling pace of

running a solo practice and the abuse she suffered at home caused Sarah to develop

debilitating depression and anxiety.1

          She sought professional help, but prescription medication proved ineffective.

Despite her own struggles, Sarah continued to support her boyfriend in his battle

with alcoholism, driving him to AA meetings and enrolling him in rehab. She tried,

as always, to help. Her boyfriend’s mental health fight ended in tragedy this

spring, when she returned home to find he had hung himself in their bedroom

closet.

          Despite the sudden loss of her companion, and the stress of undergoing

federal prosecution, Ms. Brinson has made tremendous strides in her mental health

in the last several months. She closed her law firm, worked with the State Bar to

wind-down her law practice, and focused on her health. Sarah is on an upward

trajectory, thanks in part to more intensive and targeted treatment by specialists in




1
 The American Bar Association (“ABA”) has noted that 28 percent of lawyers acknowledged suffering from
depression and that lawyers suffer depression at a higher rate than the general population. See ABA Commission on
Lawyer Assistance Programs – Depression (Jun. 4, 2018) (available at:
https://www.americanbar.org/groups/lawyer_assistance/resources/depression/); “ABA Sounds New Alarm on
Substance Abuse, Firms Pledge Action,” The American Lawyer (Sep. 10, 2018).


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Raleigh and Chapel Hill. The ever-present support of her loving parents has also

been a blessing. As her father says, despite the tragic and unfortunate

circumstances of the last year, “the spark of hope” is present and growing by the

day.

II.    NATURE AND CIRCUMSTANCES OF THE OFFENSE

       Ms. Brinson has pleaded guilty to a single offense of encouraging or inducing

an alien to remain in the United States in reckless disregard of the fact that such

residence was in violation of law, in violation of Title 8, United States Code, Section

1324(a)(1)(A)(iv). The basis for this offense was Sarah’s employment of her legal

assistant, Yareli Ortiz Carbajal, at Brinson Law Office for a period of time before

Ms. Ortiz obtained work authorization (which she ultimately did). Sarah’s

guideline range is 0-6 months, in Zone A of the Sentencing Table. She has no

criminal history.

       Sarah acknowledges that her actions were wrong and she accepts full

responsibility. Sarah allowed her close personal friendship with Ms. Ortiz to get in

the way of her legal obligations as an employer. After befriending Ms. Ortiz while

working together at a prior law firm, Sarah became a godmother to Ms. Ortiz’s son.

When her boyfriend was abusive, Sarah turned to Ms. Ortiz for support. Moreover,

she counted on Ms. Ortiz to keep the office running as her depression worsened.

Ms. Brinson now realizes that she allowed this friendship, specifically, and her

desire to help people, more generally, to cloud her judgment. This severe lapse of

judgment led Sarah to employ her friend prior to her obtaining work authorization

in violation of the law.


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III.     SUITABILITY OF A PROBATIONARY SENTENCE

         In light of the guideline range and all of the relevant 3553(a) factors, the

defendant believes a probationary sentence is appropriate. The defendant has

already suffered significant consequences for her actions and any term of

incarceration would be greater than necessary to achieve the goals of sentencing.

         The offense to which Ms. Brinson pleaded guilty is a felony offense and

carries with it all of the familiar collateral consequences. Ms. Brinson also agreed

to surrender her law license and not seek reinstatement for a period of at least 5

years. Sarah has also agreed to forfeit $5,000 to the Government in lieu of civil

fines which could have been levied against her based on her employment of Ms.

Ortiz.

         An important factor in support of a probationary sentence is the fact that, as

discussed above and as the Government stipulated, the offense was not committed

for profit. Based on the nature and circumstances of the offense, specifically the

lack of any aggravating factors, and the history and characteristics of the

defendant, there appears to be no basis for a sentence other than a term of

probation.

         Moreover, a probationary sentence would allow Sarah to continue her mental

health treatment, to obtain gainful employment, and satisfy her forfeiture

obligations to the Government. To that end, the defendant further requests the

court not impose a fine so that her limited financial resources can be directed

towards said obligation.




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      The defendant has paid a heavy price for the conduct at issue. Sarah is

remorseful and doing everything in her power to put her life back together. She

respectfully requests a sentence of probation to allow her to continue in that

journey.

IV.   CONCLUSION

      For the reasons outlined herein, the Defendant believes that a guideline

sentence of probation would meet the purposes of sentencing.

      WHEREFORE, based on the preceding arguments, as supported herein, and

based on the factual information in the Presentence Report, Ms. Brinson

respectfully requests:

      1.      That the Court impose upon Ms. Brinson a probationary sentence for

the reasons set forth herein;

      2.      That the Court grant Ms. Brinson such other and further relief as it

may deem is just, proper, and reasonable.

       Respectfully submitted this 1st day of October, 2019.

                                        MCGUIREWOODS LLP


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                             CERTIFICATE OF SERVICE

       I hereby certify that on October 1, 2019, I electronically filed the foregoing

document with the Clerk of Court using the CM/ECF system which will send

notification of such filing to the following:

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